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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOURTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION


KAO LEE YANG, INDIVIDUALLY, AND §
OBO, S.V. & T. V., MINORS;       §
      Plaintiffs,                §
                                                       G
VS.                                                    § CivilActionNo.4:18-CV-161
                                                       G
TEICHMAN GROUP, LLC., et al.,                          G
      Defendants.                                      G

       PLAINTIFF MARCUS WILSON'S MOTION TO RECONSIDER RULING ON
            DISCOVERY PRIOR TO SUMMARY JUDGMENT RESPONSE DATE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE

                                               I. INTRODUCTION


         This lawsuit arises out of a crane accident that killed two young men. One of those men' s

fathers filed suit against Lightering - the lessor of the facility in question. Lightering filed a

motion for summary judgment based on the borrowed servant doctrine.l At a recent status

conference, the Court stated that Lightering's motion for summary judgment would be decided

based on the contractual agreements between the various parties, but that other discovery,

including depositions, would be prohibited.2 As this Court is well aware, the determination for

borrowed servant status turns on nine factors, and, respectfully, many of them will not be

demonstrated by the contractual agreement between the parties. As such, Plaintiff Marcus

Wilson respectfully requests that this Court reconsider its ruling on discovery and allow the parties

to engage in limited discovery on this issue, including depositions.




1 Doc.35.
2 Transcript of April 19, 2018, pages 13-14.
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                                   II. ARGUMENTS & AUTHORITIES


        Lightering moved for summary judgment based on the doctrine of borrowed servant status.

In Ruiz v. Shell Oil Co., 413 F.2d 310, 312-13 (5th Cir. 1969), this court suggested nine factors to

be evaluated in determining whether the borrowed employee doctrine applies:

        (l) Who has control over the employee and the work he is performing, beyond mere
        suggestion of details or cooperation?
        (2) Whose work is being performed?
        (3) Was there an agreement, understanding, or meeting of the minds between the original
        and the borrowing employer?
        (4) Did the employee acquiesce in the new work situation?
        (5) Did the original employer terminate his relationship with the employee?
        (6) Who furnished tools and place for perforrnance?
        (7) Was the new employment over a considerable length of time?
        (8) Who had the right to discharge the employee?
        (9) Who had the obligation to pay the employee?

The district court decides the borrowed employee issue as a matter of law, Gaudet v. Exxon Corp.,

562 F.2d 351, 3 s 7-s 8 (5th Cir. 1 977), and, if sufficient basic factual ingredients are undisputed, the

court may grant summary judgment. Id. at 358-59. It is obviously the Plaintiff"s burden to

demonstrate there are genuine issues of material fact. And to do this, Plaintiff must obviously

engage in some discovery regarding the factual ingredients.

        Summary judgment assumes some discovery. See F.D.I.C. v. Shrader & York, 991 F.2d

216, 220 (5th Cir. 1993) (?Summary judgment is appropriate if, after discovery, there is no genuine

dispute over any material fact.?) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 106 s.ct. 2548, 91

L.Ed.2d 265 (1986), Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 106 s.ct. 2505, 91 L.Ed.2d

202 (1986), and Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 106 s.ct. 1348,

89 L.Ed.2d 538 (1986)) (emphasis added); see also Little v. Liquid Air Corp., 37 F.3d 1069, 1075

(5th Cir. 1994) (en banc) ("Rule 56 'mandates the entry of summary judgment, after adequate time

for discovery and upon motion, against a party who fails to make a showing sufficient to establish




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the existence of an element essential to that party's case ...?') (quoting Celotex Corp., 477 U.S. at

322, 106 s.ct. 2548) (emphasis added). The Supreme Court has stated that summary judgment

should be entered against a plaintiff who does not raise a genuine issue of material fact "even

where the evidence is likely to be within the possession of the defendant, as long as the plaintiff

has had a full opportunity to conduct discovery.? Anderson, 477 U.S. at 257, 106 s.ct. 2505

(emphasis added). Although the district court may cut off discovery when the record shows that

further discovery is not likely to produce the facts needed to withstand the motion for summary

judgment, Washington, 901 F.2d at 1285, "[w]hen a party is not given a full and fair opportunity to

discover information essential to its opposition to summary judgment, the limitation on discovery

is reversible error.? Access Telecom, Inc. v. MCI Telecomm. Corp., 197 F.3d 694, 720 (5th

Cir. 1999).

        In the instant case, Defendant Lightering's motion for summary judgment relies heavily

upon an affidavit provided by one of its employees - Cameron Kehm. Plaintiff is in the

unenviable position of responding to Defendant's motion, and the attached affidavit, with no

depositions or other written discovery at its disposal. Specifically, the affidavit, by Cameron

Kehm, references the actions of other Lightering employees, Mario Ruiz, Sr. and Mario Ruiz, Jr.,

that support Lightering's position. Obviously, without deposing these individuals, it is nearly

impossible for Plaintiff to respond to these assertions. Plaintiff respectfully requests that he be

allowed to engage in some paper discovery followed by the depositions of these individuals.

                                          III. CONCLUSION


        Plaintiffs requests the ability to conduct discovery on the borrowed servant issue that is the

subject of Lightering' s motion for summary judgment; Plaintiff contemplates at this time that this

would include requests for production and the depositions of Cameron Kehm, Mario Ruiz, Sr., and




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Mario Ruiz, Jr., any other witnesses identified that have knowledge of relevant facts to the

borrowed servant issue referenced in Defendant's motion for summary judgment.



                                             Respectfully submitted,

                                             THE BUZBEE LAW FIRM


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                                    CERTIFICATE OF SERVICE


        I hereby certify that a tme and correct copy of this document has been duly served on all
interested parties in accordance with the Federal Rules of Civil Procedure on the May 9, 2018.




                                                               /s/ Christopher j Leavitt
                                                                 Christopher J. Leavitt




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                              Affidavit of Christopher J. Leavitt

  1.      My name is Christopher J. Leavitt. I am over the age of twenty-one, am fully
          competent to make this affidavit, have personal knowledge of the facts and statements
          in this affidavit, and each of the facts and statements are tme and correct.

  2.      I am counsel for Marcus Wilson in the above-styled matter.

  3.      Defendant Lightering, Inc. has relied upon an affidavit for its motion for summary
          judgment. This affidavit was provided by Lightering employee Cameron Kehrn. Mr.
          Kehm provides information in his affidavit that is presumably within his personal
          knowledge. This information is relied upon by Lightering, and this information is
          only obtainable from Mr. Kehm.

  4.      Mr. Kehrn's affidavit also references the actions of two other Lightering employees -
          Mario Ruiz, Sr. and Mario Ruiz, Jr. The actions of these two employees, also relied
          upon by Lightering, is within their own personal knowledge. And deposing them is the
          only source for what information they have - the same information relied upon by
          Lightering.

  s.      This infornnation goes directly to the factors determining whether the deceased was a
          borrowed servant, specifically factors 1, 2, 4, 6,?8, as outlined in Ruiz.

  FURTHER AFFIANT SAYETH NAUGHT




                                                   rT J. Leavi'g

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                                                   DATE




SUBSCRIBED AND SWORN TO ME BEFO:                             MAY 9, 2018.




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